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 9
10                            IN THE UNITED STATES DISTRICT COURT
11
                                  EASTERN DISTRICT OF CALIFORNIA
12

13                                          FRESNO DIVISION
14
       NORTH COAST RIVERS ALLIANCE,                  Case No. 1:16-cv-00307-DAD-SKO
15     CALIFORNIA SPORTFISHING
       PROTECTION ALLIANCE, PACIFIC                  INTERVENOR-DEFENDANTS’
16     COAST FEDERATION OF FISHERMEN’S               MEMORANDUM OF POINTS AND
       ASSOCIATIONS, SAN FRANCISCO CRAB              AUTHORITIES IN SUPPORT OF
17     BOAT OWNERS ASSOCIATION, INC., and            MOTION TO DISMISS PLAINTIFFS’
       INSTITUTE FOR FISHERIES RESOURCES,            SECOND AMENDED AND
18                                                   SUPPLEMENTAL COMPLAINT
                        Plaintiffs,                  PURSUANT TO FED. R. CIV. P. 12(b)(1)
19                                                   AND 12(b)(7)
              v.
20                                                   Date:        December 15, 2020
       UNITED STATES DEPARTMENT OF THE               Time:        9:30 a.m.
21     INTERIOR, and UNITED STATES BUREAU            Courtroom:   5
       OF RECLAMATION,                               Judge:       Hon. Dale A. Drozd
22
                        Defendants.                  Trial Date: None
23                                                   Date Action Filed: March 4, 2016
              And
24
       WESTLANDS WATER DISTRICT, SAN LUIS
25     WATER DISTRICT, and PANOCHE WATER
       DISTRICT,
26
                        Intervenor-Defendants.
27

28
                                                                     CASE NO. 1:16-CV-00307-DAD-SKO
                                                                  INTERVENOR-DEFENDANTS’ MP&A ISO
                                                                  MOTION TO DISMISS PLAINTIFFS’ SASC
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 1     I.      INTRODUCTION

 2             Intervenor-Defendants Westlands Water District (“Westlands”), San Luis Water District

 3     (“San Luis”), and Panoche Water District (“Panoche”) (collectively the “San Luis Unit

 4     Contractors”) have moved pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(7) for

 5     dismissal of Plaintiffs’ Second Amended and Supplemental Complaint (“SASC”) [ECF No. 127].

 6     San Luis Unit Contractors seek dismissal of Plaintiffs’ First Claim for Relief because this claim is

 7     moot. In addition, San Luis Unit Contractors seek dismissal of Plaintiffs’ Second through Fifth

 8     Claims for Relief under Rule 19 of the Federal Rules of Civil Procedure unless Plaintiffs join as

 9     parties all water contractors whose contracts Plaintiffs seek to affect by these newly added claims.

10             Plaintiffs’ First Claim renews their initial challenge to the six Central Valley Project

11     (“CVP”) 2016-2018 interim water service contracts between the Bureau of Reclamation

12     (“Reclamation”) and Westlands, Santa Clara Valley Water District, and Pajaro Valley Water

13     Management Agency, and supplements this claim with a virtually identical challenge to the 2020-

14     2022 interim contracts1 between Reclamation and those same CVP water contractors.2 But the

15     Interim Contracts are no longer in effect. Pursuant to the Water Infrastructure Improvements for

16     the Nation (“WIIN”) Act, Pub. L. No. 114-322, 130 Stat. 1628 (2016), the most recent Interim

17     Contracts were converted into repayment contracts (“Repayment Contracts”). The WIIN Act

18     recognizes that each CVP water service contractor that converts to a repayment contract has a

19     permanent right to water service “so long as the contractor pays applicable charges, consistent

20     with section 9(d) [and section 9(c)(1)] of the Act of August 4, 1939 (53 Stat. 1195), and

21     applicable law.” WIIN Act, §§ 4011(a)(2)(D), 4011(a)(3)(C). Thus, neither Reclamation nor the

22     CVP water contractors that held Interim Contracts have a need for new interim renewal contracts.

23
       1
        Unless specified otherwise, the 2016-2018 and 2020-2022 interim contracts are referred to as the
24     “Interim Contracts.”
       2
25      Specifically, Plaintiffs contest “the Central Valley Project Interim Renewal Contract[s] for Westlands
       Water District, Santa Clara Valley Water District, and Pajaro Valley Water Management Agency” for
26     both the 2016-2018 and 2020-2022 interim contract periods. SASC, ¶¶ 2-3 (italics in original). Westlands
       Water Distribution Districts #1 and #2 are also parties to certain of the contested contracts. San Luis and
27     Panoche are contracting parties with Reclamation under interim renewal contracts that are not challenged
       by Plaintiffs in this action.
28
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 1     And, even a successful challenge by Plaintiffs in this action, would not necessarily bring the prior

 2     Interim Contracts back into effect. As a result, Plaintiffs’ First Claim is moot and does not fall

 3     within the exception for claims capable of repetition yet evading review, and thus should be

 4     dismissed.

 5             Further, Plaintiffs’ Second through Fifth Claims each seek to invalidate and enjoin

 6     existing WIIN Act contracts and enjoin execution of additional WIIN Act contracts between

 7     Reclamation and numerous CVP water contractors that Plaintiffs have not joined in this action.

 8     Plaintiffs’ failure to join these required parties violates Rule 19 and applicable Ninth Circuit

 9     precedent, because adjudicating these claims would impair or impede the ability of the absent
10     contracting parties to protect their interests.

11             Accordingly, the Court should dismiss Plaintiffs’ First Claim as moot pursuant to Rule

12     12(b)(1), order Plaintiffs to join all CVP water contractors whose repayment contracts they seek

13     to affect in their Second through Fifth Claims, and dismiss these claims pursuant to Rule 12(b)(7)

14     if Plaintiffs fail to do so.3

15     II.     BACKGROUND
16             When Plaintiffs initially filed this action in March 2016 against the Department of the

17     Interior (“Interior”) and Reclamation (collectively “Federal Defendants”), their complaint was

18     limited to a challenge to the six CVP interim water service contracts between Reclamation and

19     Westlands, Santa Clara Valley Water District, and Pajaro Valley Water Management Agency for
20     alleged violations of the National Environmental Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq.,

21     and the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701-706. See Compl., ECF No. 2.

22     Plaintiffs’ First Claim for Relief alleged that the Environmental Assessments (“EAs”) and

23     Findings of No Significant Impacts (“FONSIs”) associated with the Interim Contracts were

24
       3
25       San Luis Unit Contractors anticipate that they will move for judgment on Plaintiffs’ Second through Fifth
       Claims, if those claims remain after the Court addresses this motion and after the filing of the
26     administrative record. At that time, it is anticipated that two other cases challenging WIIN Act contracts,
       Center for Biological Diversity, et al. v. Reclamation, et al. (“CBD”), Case No. 1:20-cv-00706-DAD-EPG,
27     (already related to this case, see Order Relating Case, CBD ECF No. 5), and Hoopa Valley Tribe v.
       Reclamation, et al., NDCA Case No. 1:20-cv-05630 (a likely candidate for transfer to this District, see
28     Notice of Related Cases, ECF No. 124), may be consolidated, at least for motion purposes.
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 1     inadequate under NEPA. Id. at 14-17. Plaintiffs’ Second Claim for Relief alleged that NEPA

 2     required Reclamation to prepare an Environmental Impact Statement (“EIS”) prior to renewing

 3     the Interim Contracts. Id. at 18.

 4            In June 2016, the Court granted San Luis Unit Contractors’ motion to intervene as a

 5     matter of right pursuant to Rule 24(a)(2), concluding that, because San Luis Unit Contractors

 6     “possess contractually protected interests in deliveries from the CVP,” the “potential adverse

 7     consequences” to their interests warranted intervention. ECF No. 21, at 4:21-25. Before any

 8     substantive motions could be filed, however, the Ninth Circuit issued its July 25, 2016 decision in

 9     a separate case with nearly identical claims, Pac. Coast Fed’n of Fishermen’s Ass’ns v. U.S.
10     Dep’t of the Interior, 655 F. App’x 595 (9th Cir. 2016) (“PCFFA”). The PCFFA panel largely

11     affirmed this Court’s prior dismissal of claims in that case, while identifying minor deficiencies

12     with the EA at issue there. PCFFA at 595. The panel also noted that “[t]he short duration and

13     serial nature of Reclamation’s interim water contracts place plaintiffs’ claims within the mootness

14     exception for disputes capable of repetition yet evading review.” PCFFA at 597. In May 2017,

15     after successfully petitioning the Court for voluntary remand of the 2016 EA and FONSI (ECF

16     No. 52), Reclamation released a Final Revised EA and FONSI for 2016 interim contracts

17     addressing deficiencies identified in PCFFA (ECF No. 56-1). On September 28, 2017, Plaintiffs

18     filed their First Amended and Supplemental Complaint (“FASC”), ECF No. 64, challenging the

19     Final Revised EA and renewing their claim that Reclamation should have prepared an EIS for
20     those interim contracts.

21            On March 12, 2018, the Court granted San Luis Unit Contractors’ motion to dismiss

22     Plaintiffs’ EIS claim (ECF No. 78) and on July 26, 2018, Federal Defendants and San Luis Unit

23     Contractors each moved for summary judgment regarding Plaintiffs’ remaining challenge to the

24     Final Revised EA and FONSI (ECF Nos. 90 and 92, respectively). Before deciding those

25     motions, the Court ordered supplemental briefing on the status of efforts to enter into long-term

26     water service contracts based on concerns that the challenge to the interim contracts “may be

27     mooted in the near future.” ECF No. 99. On March 12, 2019, Federal Defendants informed the

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 1     Court that Reclamation no longer intended to pursue long-term renewal of water service contracts

 2     under section 3404 of Central Valley Project Improvement Act, Pub. L. No. 102-575, 106 Stat.

 3     4600 (“CVPIA”), but instead intended to convert the then-existing Interim Contracts into

 4     repayment contracts, pursuant to section 4011 of the WIIN Act. ECF No. 100.

 5             Enacted in December 2016, the WIIN Act addressed a number of water infrastructure

 6     issues across the country. Most pertinent to this case, section 4011 of the WIIN Act directed that,

 7     upon the request of any CVP water service contractor, “the Secretary of the Interior shall convert”

 8     the contractor’s water service contract to a repayment contract.4 Congress was clear that all CVP

 9     water service contracts converted shall “continue so long as the contractor pays applicable
10     charges, consistent with section 9(d) [and section 9(c)(1)] of the Act of August 4, 1939 (53 Stat.

11     1195), and applicable law.” WIIN Act, §§ 4011(a)(2)(D), 4011(a)(3)(C).

12             On July 15, 2020, Federal Defendants informed the Court that, pursuant to the WIIN Act,

13     the six water service contracts challenged by Plaintiffs had all been converted into Repayment

14     Contracts, and that Plaintiffs’ challenge to the 2016-2018 Interim Contracts was moot and no

15     longer capable of repetition. ECF No. 122, ¶ 4. Apparently recognizing that the conversion of the

16     2016-2018 Interim Contracts into repayment contracts mooted their only surviving claim,

17     Plaintiffs amended their FASC on August 26, 2020. ECF No. 127.5

18             Plaintiffs’ SASC adds four new claims challenging WIIN Act Repayment Contracts

19     between Reclamation and Westlands, and between Reclamation and other CVP water contractors,
20     some named and others not specifically identified. In addition, Plaintiffs’ SASC realleges their

21     now-moot challenge to the 2016-2018 Interim Contracts and adds a new but also moot challenge

22     to the 2020-2022 Interim Contracts. As set forth in detail below, Plaintiffs’ claims attacking the

23     Interim Contracts are moot and not subject to the exception to the mootness doctrine. In addition,

24     Plaintiffs improperly failed to join all contractors whose repayment contracts they seek to set

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       4
        The WIIN Act repayment contracts allow CVP water contractors to prepay construction costs that
26     otherwise would have been repaid to Reclamation over an extended period of time. See WIIN Act, §
       4011(a).
27
       5
         San Luis Unit Contractors did not oppose Plaintiffs’ request to file a SASC due to the liberal amendment
28     standard but noted an intention to challenge the SASC once filed. ECF No. 123.
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 1     aside or enjoin. Accordingly, San Luis Unit Contractors have moved to dismiss under Rules

 2     12(b)(1) and 12(b)(7).

 3     III.   LEGAL STANDARDS
 4            A.      Mootness And Lack Of Subject Matter Jurisdiction Under Rule 12(b)(1)
 5            Under Article III, section 2 of the Constitution, federal courts have jurisdiction to address

 6     only actual “Cases” or “Controversies.” U.S. Const. art. III, § 2, cl. 1. The duty of a federal court

 7     “is to decide actual controversies by a judgment which can be carried into effect, and not to give

 8     opinions upon moot questions or abstract propositions, or to declare principles or rules of law

 9     which cannot affect the matter in issue in the case before it.” Mills v. Green, 159 U.S. 651, 653
10     (1895). “Simply stated, a case is moot when the issues presented are no longer ‘live’ or the parties

11     lack a legally cognizable interest in the outcome.” Powell v. McCormack, 395 U.S. 486, 496

12     (1969). Because a court lacks subject matter jurisdiction to hear a claim that is moot, such a claim

13     may be dismissed under Rule 12(b)(1). Id.

14            Claims which are “capable of repetition, yet evading review” present an exception to the

15     mootness doctrine. Southern Pac. Terminal Co. v. Interstate Commerce Comm’n, 219 U.S. 498,

16     515 (1911). “The doctrine is limited to extraordinary cases in which: (1) the duration of the

17     challenged action is too short to be fully litigated before it ceases; and (2) there is a reasonable

18     expectation that the plaintiffs will be subjected to the same action again.” Alaska Fish & Wildlife

19     Fed’n v. Dunkle, 829 F.2d 933, 939 (9th Cir. 1987), cert. denied, 485 U.S. 988 (1988) (citation
20     omitted); see also Native Americans for Enola v. U.S. Forest Serv., 60 F.3d 645, 646 (9th Cir.

21     1995). The burden for establishing application of the mootness exception falls to the party

22     opposing a Rule 12(b)(1) motion, because “[t]he party asserting federal subject matter jurisdiction

23     bears the burden of proving its existence.” Chandler v. State Farm Mut. Auto. Ins. Co., 598 F.3d

24     1115, 1122 (9th Cir. 2010).

25            B.      Failure To Join A Required Party Under Rule 19
26            Rule 12(b)(7) permits dismissal for “failure to join a party under Rule 19.” Rule 19

27     governs which persons must be joined as a party to the action and if joinder is not feasible, the

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 1     case must be dismissed. Nat. Res. Def. Council v. Kempthorne, 539 F. Supp. 2d 1155, 1182 (E.D.

 2     Cal. 2008) (“Kempthorne”). The “[a]pplication of Rule 19 involves three successive inquiries.”

 3     Wilbur v. Locke, 423 F.3d 1101, 1111 (9th Cir. 2005), abrogated on other grounds. First, the court

 4     must evaluate whether the absent party is “necessary” because, inter alia, it “has a legally

 5     protected interest in the outcome.” Pit River Home & Agric. Co-op. Ass’n v. United States, 30

 6     F.3d 1088, 1099 (9th Cir. 1994). If the absent party is “necessary,” the court then determines if

 7     joinder is feasible. Wilbur, 423 F.3d at 1111. Finally, if joinder is not feasible, the court

 8     determines “whether the case can proceed without the absentee, or whether the absentee is an

 9     ‘indispensable party’ such that the action must be dismissed.” Id. at 1112.
10     IV.    ARGUMENT
11            A.      The Court Should Dismiss The First Claim For Relief As Moot
12            Plaintiffs’ SASC does not abandon their original attack on the 2016-2018 Interim

13     Contracts. Compare FASC ¶¶ 65-73 with SASC ¶¶ 65-73. Rather, the SASC simply supplements

14     Plaintiffs’ First Claim with a virtually identical challenge to the 2020-2022 Interim Contracts,

15     based on the same theory as their challenge to the 2016-2018 Interim Contracts—that the

16     associated EA was inadequate. SASC ¶¶ 65-73.

17            Plaintiffs’ challenges to the Interim Contracts are moot, and are now no longer even

18     arguably subject to the extraordinary exception to the mootness doctrine. The Ninth Circuit held

19     in PCFFA that “Reclamation’s interim water contracts place plaintiffs’ claims within the

20     mootness exception for disputes capable of repetition yet evading review,” PCFFA, 655 F. App’x

21     at 597. To fall within this exception “there must be a reasonable likelihood that the same party

22     will be subject to the action again.” N.A.A.C.P., W. Region v. City of Richmond, 743 F.2d 1346,

23     1353 (9th Cir. 1984) (emphasis added). “A mere speculative possibility of repetition is not

24     sufficient. There must be a cognizable danger, a reasonable expectation, of recurrence for the

25     repetition branch of the mootness exception to be satisfied.” Williams v. Alioto, 549 F.2d 136, 143

26     (9th Cir. 1977).

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 1            As Federal Defendants informed the Court in July 2020, claims based on the Interim

 2     Contracts are no longer capable of repetition evading review because, “they have all have been

 3     converted into repayment contracts under the WIIN Act.” ECF No. 122, ¶ 4. On March 1, 2020,

 4     Reclamation entered into the 2020-2022 Interim Contracts. ECF No. 118, ¶ 3. The 2020-2022

 5     Interim Contracts replaced the prior 2018-2020 Interim Contracts, making Plaintiffs’ challenge to

 6     the 2016-2018 Interim Contracts “technically moot”.6 And the conversion of the 2020-2022

 7     Interim Contracts into Repayment Contracts makes any challenge to the Interim Contracts

 8     indisputably moot, and no longer capable of repetition, because the Repayment Contracts

 9     superseded the Interim Contracts and now control the terms and conditions for water service.
10            Even if any of Plaintiffs’ challenges to the Repayment Contracts are successful, any claim

11     that the Interim Contracts would become operative again is only speculative and therefore not

12     sufficient to establish the mootness exception. In such circumstance, the most likely and

13     appropriate result under Ninth Circuit precedent would be for the Court to require Reclamation to

14     conduct the NEPA analysis in question while water deliveries continue under the Repayment

15     Contracts. This was the approach adopted by the Ninth Circuit in Forelaws on Bd. v. Johnson,

16     743 F.2d 677, 685-86 (9th Cir. 1984). Similar to Plaintiffs’ amended claims here, Forelaws

17     involved an environmental group’s challenge to long-term contracts between the Bonneville

18     Power Administration (“BPA”) and power customers on grounds that the BPA failed to prepare

19     an EIS as required by NEPA. Id. at 680-81. The panel agreed with the plaintiffs that an EIS was
20     required in that case, but held that “an injunction of the operation of the contracts themselves is

21     inappropriate” because the contracts were already being performed. Id. at 686; see also Idaho

22     Watersheds Project v. Hahn, 307 F.3d 815, 833-834 (9th Cir. 2002), abrogated on other grounds

23     by Monsanto Co. v. Geertson Seed Farms, Inc., 561 U.S. 139, 158 (2010) (upholding district

24     court decision to allow some continued grazing pursuant to NEPA-non-compliant grazing permits

25     pending further NEPA analysis).

26     ////

27
       6
        Order Requesting Additional Supplemental Filing Re Mootness, March 19, 2019, ECF No. 101 (“This
28     case already is technically moot because the 2016-18 Interim Contracts have expired.”)
                                                                          CASE NO. 1:16-CV-00307-DAD-SKO
                                                        -7-            INTERVENOR-DEFENDANTS’ MP&A ISO
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 1             It is undisputed that the Repayment Contracts provide permanent rights to water service,

 2     with no need to enter into new interim renewal contracts every two years. SASC ¶ 4 (noting

 3     Plaintiffs’ intent to challenge the permanent Repayment Contracts). The Repayment Contracts

 4     will remain in effect “so long as the contractor pays applicable charges, consistent with section

 5     9(d) [and section 9(c)(1)] of the Act of August 4, 1939 (53 Stat. 1195), and applicable law.”

 6     WIIN Act, §§ 4011(a)(2)(D), 4011(a)(3)(C). Accordingly, if the Court eventually determines that

 7     NEPA analysis is required for the Repayment Contracts, the most likely result is not a reversion

 8     to the 2020-2022 Interim Contracts, but rather that the Repayment Contracts continue to be

 9     performed pending the appropriate environmental review.
10             Thus, the Repayment Contracts provide perpetual rights to water service and remove the

11     need to execute new interim contracts every two years, and it would be “a mere speculative

12     possibility” that the challenged 2020-2022 Interim Contracts would at some point in the future

13     provide the terms and conditions of water service. Thus, the Court lacks subject matter

14     jurisdiction to hear challenges to them. Accordingly, Plaintiffs’ First Claim is moot and should be

15     dismissed with prejudice under Rule 12(b)(1).7

16             B.      Plaintiffs’ Claims Seeking To Invalidate And Enjoin Execution Of
                       Repayment Contracts Between Reclamation And CVP Water Contractors
17                     That Are Not Parties Should Be Dismissed Unless Plaintiffs Join Those
                       Absent CVP Water Contractors
18
               Plaintiffs’ Second through Fifth Claims seek to invalidate and enjoin existing repayment
19
       contracts and enjoin execution of additional repayment contracts not only between Reclamation
20
       and Westlands, but also contracts between Reclamation and CVP water contractors, most of
21
       which are not parties in this case. Plaintiffs’ failure to join these required parties violates Fed. R.
22
       Civ. P. 19, which provides in pertinent part:
23
                       A person who is subject to service of process and whose joinder will
24                     not deprive the court of subject-matter jurisdiction must be joined as
                       a party if … (B) that person claims an interest relating to the subject
25                     of the action and is so situated that disposing of the action in the
26
       7
         A district court may dismiss a claim “with prejudice” when any attempt to amend the claim at issue
27     would be futile. Chubb Custom Ins. Co. v. Space Sys./Loral, Inc., 710 F.3d 946, 956 (9th Cir. 2013). Since
       the contracts challenged by Plaintiffs’ First Claim for Relief have been superseded, any attempt to further
28     amend the claim would be futile. Thus, dismissal “with prejudice” is appropriate.
                                                                             CASE NO. 1:16-CV-00307-DAD-SKO
                                                           -8-            INTERVENOR-DEFENDANTS’ MP&A ISO
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 1                     person’s absence may: (i) as a practical matter impair or impede the
                       person’s ability to protect the interest[.]
 2

 3     Fed. R. Civ. P. 19(a)(1).

 4             As the Eastern District of California decision in Kempthorne stated: “It is well-settled that

 5     in an action to set aside a contract, all parties to the contract must be present.” Kempthorne, 539

 6     F. Supp. 2d at 1185; see also Wilbur, 423 F.3d at 1113 (“[I]t is a ‘fundamental principle’ that ‘a

 7     party to a contract is necessary, and if not susceptible to joinder, indispensable to litigation

 8     seeking to decimate that contract.’”).8 ECF No. 21, at 4:21-25.

 9             In Kempthorne, several water districts filed a motion to dismiss under Fed. R. Civ. P.

10     12(b)(7), challenging plaintiffs’ ability to invalidate contracts between Reclamation and other

11     water districts that had not been joined in the case. 539 F. Supp. 2d at 1180. After an extensive

12     analysis, the court held that if “Plaintiffs seek to enjoin the Bureau from performing under or

13     rescinding contracts held by absent water contractors, the [water districts’] Rule 12(b)(7) motion

14     must be granted.” Id. at 1191. Similar to Kempthorne, here Plaintiffs’ Second Claim seeks a

15     judgment declaring unlawful, setting aside, and enjoining the repayment contracts Reclamation

16     entered into or plans to enter into, not only with Intervenor Westlands, but also those repayment

17     contracts with “East Bay Municipal Utility District, City of Folsom, Placer County Water

18     Agency, City of Roseville, Sacramento County Water Agency, Sacramento Municipal Utility

19     District, and San Juan Water District,” as well as “other CVP water contractors.” SASC ¶¶ 75,

20     88-89. Plaintiffs’ Third, Fourth, and Fifth Claims are less precise, but it is clear that each claim

21     seeks to impact the contracts of numerous absent contractors. SASC at 46 (Prayer for Relief #4,

22     seeking to invalidate “repayment contracts with Westlands and others” based on purported

       8
23       As noted above, the Court has previously concluded in this case that, because CVP water contractors
       “possess contractually protected interests in deliveries from the CVP,” the “potential adverse
24     consequences” to their interests warranted intervention. This conclusion applies equally to joinder of the
       non-party CVP water contractors whose repayment contracts are at issue in the SASC under the “law of
25     the case” doctrine. See Milgard Tempering v. Selas Corp. of Am., 902 F.2d 703, 715 (9th Cir. 1990) (“a
       court is generally precluded from reconsidering an issue previously decided by the same court, or a higher
26     court in the identical case”) (citation omitted); United States v. Iron Mt. Mines, 987 F. Supp. 1244, 1246
       (E.D. Cal. 1997) (“the law of the case doctrine applies not only to issues decided explicitly in an earlier
27     opinion, but also to issues decided by necessary implication . . . [and] so long as the issue was decided by
       necessary implication, it does not matter if the treatment of the issue was summary or somewhat
28     ambiguous.”) (citations omitted).
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 1     violations of NEPA and the CVPIA alleged in Plaintiffs’ Third Claim; Prayer for Relief #6,

 2     seeking to invalidate “repayment contracts with Westlands and others” based on the purported

 3     violations of 43 U.S.C. §§ 423e and 511 alleged in Plaintiffs’ Fourth Claim; Prayer for Relief #8,

 4     seeking an injunction ordering Reclamation to withdraw, or refrain from granting “approval of

 5     any repayment contracts” based on purported violations of Reclamation Law as alleged in

 6     Plaintiffs’ Fifth Claim) (emphasis added in each); see also SASC ¶ 114 (referencing Westlands

 7     and “other water districts”); id. ¶ 122 (referencing Westlands and “other similar repayment

 8     contracts”).9

 9             Plaintiffs’ attempt to invalidate repayment contracts and enjoin execution of future
10     repayment contracts with CVP water contractors that are not parties to this case violates Rule

11     19(a) and Ninth Circuit precedent. See Rule 19(a)(1). To comply with Rule 19(a), Plaintiffs must

12     join as a party each CVP water contractor whose repayment contract Plaintiffs seek to invalidate

13     or enjoin. CVP water contractors are presumably subject to service of process and joining them

14     would not deprive this Court of jurisdiction.10 Each CVP water contractor whose repayment

15     contract Plaintiffs seek to invalidate or whose proposed repayment contract Plaintiffs seek to

16     prevent from executing has “an interest relating to the subject of the action”—the specific

17     contracts which they have executed or seek to execute with Reclamation pursuant to the WIIN

18     Act. The contracts provide each CVP water contractor with valuable, permanent rights to delivery

19     of CVP water, which Plaintiffs’ claims for relief threaten. See Kempthorne, 539 F. Supp. 2d at
20     1184 (“Each water service contractor has an interest relating to the subject matter of this action to

21     the extent Plaintiffs seek to invalidate or enjoin the Bureau’s performance under all contracts.”)

22     (underline in original).

23
       9
24      In Kempthorne, the court also considered whether either federal defendants or the intervenor water
       contractors could adequately represent the interests of absent water contractors. 539 F. Supp. 2d at 1187-
25     88. The court found that under “the minimal burden of showing inadequacy of representation,” neither
       could represent the nonparty contractors’ interests. Id. The same finding is warranted here. See also
26     Sherman v. United States, 982 F.2d 1312, 1317 (9th Cir. 1992) (contracting entities have a right “to make
       known their interests and legal theories.”).
27
       10
         Because the CVP water contractors are public agencies formed pursuant to California law, there is no
28     reasonable basis to believe they cannot be joined.
                                                                             CASE NO. 1:16-CV-00307-DAD-SKO
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 1               Further, since Plaintiffs here seek remedies that could impact the already granted rights of

 2     CVP water contractors to water deliveries, Plaintiffs must join these contractors notwithstanding

 3     that four of their five claims are asserted under the APA. Dine Citizens Against Ruining Our

 4     Env’t v. Bureau of Indian Affs., 932 F.3d 843, 852-53 (9th Cir. 2019) (absent mining corporation

 5     had a legally protected interest in an action challenging agency approvals under the APA “where

 6     the effect of a plaintiff’s successful suit would be to impair a right already granted.”).

 7     V.        CONCLUSION
 8               For the reasons stated above, San Luis Unit Contractors respectfully request that their

 9     motion to dismiss be granted, and that the Court dismiss Plaintiffs’ First Claim pursuant to Rule
10     12(b)(1), order Plaintiffs to join, pursuant to Rule 19(a)(2), all CVP water contractors whose

11     repayment contracts they seek to affect in their Second through Fifth Claims, and further order

12     dismissal of these claims pursuant to Rule 12(b)(7) if Plaintiffs fail to effectuate such joinder.

13     Dated: October 7, 2020                       CYNTHIA J. LARSEN
                                                    JUSTIN GIOVANNETTONE
14                                                  MARK C. SMITH
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15

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28
                                                                             CASE NO. 1:16-CV-00307-DAD-SKO
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